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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )
                                              )                     8:09CR383
       vs.                                    )
                                              )                       ORDER
LUIS A. TREJO-DIAZ,                           )
                                              )
                      Defendant.              )


      This matter is before the court on the defendant's Motion to Extend Pretrial Motion
Deadline [27]. Upon review of the file, the court finds that an approximate 7-day extension
should be granted.

        IT IS ORDERED that the Motion to Extend Pretrial Motion Deadline [27] is granted,
in part, as follows:

       1.    The deadline for filing pretrial motions is extended to November 25, 2009.

       2.    Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between November 18, 2009 and November 25, 2009, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason that counsel require additional time to adequately prepare the case,
taking into consideration due diligence of counsel and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B)(iv).

       DATED this 19th day of November, 2009.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
